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     Attorney for Labor Smart, Inc,
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                             IN AND FOR THE DISTRICT OF ARIZONA
 8   Labor Smart, Inc.,                                               Case No. 2:22-cv-00357-PHX-JJT
 9                                      Plaintiff,
     v.                                                                LABOR SMART INC.'S RULE
10
                                                                     12(b)(6) AND RULE 13(a) MOTION
11   Jason and Melissa Tucker,                                                  TO DISMISS 1

12                                      Defendants.
13
14            Plaintiff/Counterclaimant Labor Smart, Inc., through its counsel, pursuant to Rules

15   12(b)(6) and 13(a)(1), Federal Rules of Civil Procedure, moves to dismiss the

16   Counterclaim. This Motion is supported by the attached Memorandum of Points and

17   Authorities and the entire record in this case.

18                    MEMORANDUM OF POINTS AND AUTHORITIES

19                                      Rule 12(b)(6) Motion

20            I.       Allegations in Counterclaim I: Breach of Contract.
21            Counterclaim I alleges breach of 2 contracts: first, the Labor Smart Bylaws, and
22   second, a July 2021 Agreement. (Doc. 148, ¶’s 81 – 85.) 2
23                     A.          Allegations Re: Labor Smart Bylaws.
24
25   1
       Undersigned counsel certifies that before filing the Motion, he notified opposing counsel of the issues asserted in
     the Motion. Opposing counsel responded. The parties were unable to agree that the Counterclaim was curable in any
26   part by a permissible amendment.
     2
       Counterclaimants have not attached either the Bylaws or the July 2021 Agreement to the Counterclaim. They are
     attached to this Motion.
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 1                A.        Allegations Re: Labor Smart Bylaws.
 2         The Tuckers allege on November 7, 2022, Third-Party Defendants Holley,
 3   McBride and Pavlik “held a ‘Special Meeting of the Board of Directors of Labor Smart,
 4   Inc.’" (Doc. 148, ¶ 62.) The Tuckers allege Labor Smart breached the Bylaws by taking
 5   certain actions, i.e., "an improper ‘Special Meeting,' removing Tucker from his LTNC
 6   positions, and depriving Tucker from voting the 17 Series A Preferred Shares he owned
 7   to conduct LTNC business”. (Doc. 148, ¶ 82.)
 8                B.        Allegations Re: July 2021 Agreement.
 9         The Tuckers allege:
10
           83. Additionally, LTNC is a party to the July 2021 agreement, signed by
11
           all of the Board of Directors of LTNC and promising Tucker 12 Preferred
12         Shares (4 from each Holley, McBride, and Pavlik) and 750M common
           shares once LTNC received a “current” status from OTC markets.
13
14         84. Although LTNC has received “current’ status on the OTC markets, and
           despite that the Tuckers made demand for the Preferred and Common
15         Shares owed [sic] by Holley and McBride, LTNC has refused to honor
           the July 2021 Agreement.
16
17         II.    Allegations in Counterclaim II: Aiding and Abetting
                  Tortious Misconduct.
18
19         The Tuckers allege:

20         10. The Tuckers are informed and believe that each of the individual
           Third-Party Defendants [Holley, McBride, Pavlik and Zarro] took actions
21
           as agent(s), employee(s), and/or representatives of LTNC and/or Takeover
22         and/or Next Gen. In taking such actions, each individual was acting within
           the course and scope of the agency, employment, and/or representation
23         with knowledge, acquiescence, and/or ratification by each and every other
24         Defendant for the acts taken.

25                      .             .             .
26
                                              -2-
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 1
               89. Through the actions described in this Complaint, LTNC knowingly and
 2             intentionally assisted, encouraged, participated, or cause the Third-Party
               Defendants [Takeover, Next Gen, Holley, McBride, Pavlik and Zarro] to:
 3             a) breach various fiduciary duties owed to Tucker; b) breach various
 4             agreements with Tucker, both written and implied; c) interfere with
               Tucker’s voting and financial rights in Takeover and LTNC; d) deprive
 5             Tucker of payment(s) owed to him by Takeover; e) interfere with the
               Tuckers’ shares/ability to sell shares of LTNC stock.
 6
 7             90. Moreover, LTNC has substantially participated in assisted Takeover in
               shutting down its business, reopening under Next Gen, in an effort to avoid
 8             liabilities owed by Takeover to Jason Tucker (i.e., assisting Takeover and
 9             committing a fraudulent transfer or avoidance).

10
               There are no allegations in the Counterclaim or Third-Party Complaint of any
11
     alleged conduct by Labor Smart that was not also the conduct of either Holley, McBride
12
     or Pavlik. Stated differently, all of the conduct of Holley, McBride and Pavlik was as an
13
     “agent, employee or representative” of Labor Smart or Takeover.
14
15
              III.      Labor Smart Complied With Its Bylaws.
16
                        A.      Requirements For a Special Meeting of the Board
17                              of Directors in the Labor Smart Bylaws. 3
18             The Labor Smart Bylaws contain specific requirements for Special Meetings of
19   the Board of Directors. In Article III (Directors), the Bylaws state:
20
21             SECTION 2. NUMBER AND QUALIFICATION OF DIRECTORS.
               The authorized number of directors shall be three (3) until changed by
22             amendment of the Articles or by a bylaw duly adopted by approval of the
               outstanding shares amending this Section 2.
23
24                              .                 .               .

25
26   3
         A copy of the Bylaws is attached as Exhibit "A".
                                                            -3-
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 1
             SECTION 6. SPECIAL MEETINGS. Special meetings of the Board for
 2           any purposes may be called at any time by the Chairman of the Board, the
             President, or the Secretary or a majority of the directors. Special meetings
 3           of the Board shall be held upon at least four (4) days written notice or
 4           forty-eight (48) hours' notice given personally or by telephone, telegraph,
             telex or other similar means of communication. Any such notice shall be
 5           addressed or delivered to each director at such director's address as it is
             shown upon the records of the Corporation or as may have been given to
 6
             the Corporation by the director for the purposes of notice.
 7
             SECTION 7. QUORUM. A majority of the authorized number of
 8           directors constitutes a quorum of the Board for the transaction of business,
 9           except to adjourn as hereinafter provided. Every act or decision done or
             made by a majority of the directors present at a meeting duly held at which
10           a quorum is present shall be regarded as the act of the Board, unless a
             greater number be required by law or by the Articles of Incorporation. A
11
             meeting at which a quorum is initially present may continue to transact
12           business notwithstanding the withdrawal of directors, if any action taken is
             approved by at least a majority of the number of directors required as
13           noted above to constitute a quorum for such meeting.
14
                      B.       Labor Smart Complied with the Bylaws Re: Notice
15                             and Voting at the November 7, 2022 Special Meeting of
                               the Board of Directors.
16
             On November 4, 2022, Jason Tucker was given "NOTICE OF SPECIAL
17
     MEETING OF THE BOARD OF DIRECTORS OF LABOR SMART INC." 4 Mr.
18
     Tucker's counsel, Ms. Manolio, confirmed receipt of the email and notice. 5 Despite
19
     having the Notice of the meeting, neither Mr. Tucker nor his attorney attended.
20
             Both Board members attended: Holley and McBride. 6 The quorum requirement
21
     was satisfied. Both Mr. McBride and Mr. Holley approved all of the Resolutions adopted
22
23
24   4
       A copy of the email to all of the Board members, dated November 4, 2022 at 4:06 PM, with the Notice, is attached
     as Exhibit "B".
25   5
       Ms. Manolio’s November 4, 2022 email, acknowledging receipt of the Notice, as well as emails back and forth
     between attorneys Jennifer Reiter, Matthew Canini and Ms. Manolio are attached collectively as Exhibit "C".
26   6
       Mr. Pavlik attended but was not a Board member.
                                                           -4-
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 1   at the Meeting. 7
 2            As set forth above, a majority of the authorized number of Directors constitutes a
 3   quorum for purposes of a Special Meeting. If a quorum is present, a decision by a
 4   majority of the Directors is "regarded as the act of the Board". There is no question that at
 5   the November 7, 2022 Special Meeting of the Board of Directors a quorum was present
 6   and a majority of those present voted in favor of the Resolutions. Labor Smart complied
 7   with the terms of its Bylaws for the November 7, 2022 Special Meeting of the Directors.
 8   There was no "improper ‘Special Meeting,'”. Tucker was properly removed from his
 9   LTNC positions. No one “deprived Tucker from voting”. Mr. Tucker (and his counsel)
10   voluntarily chose not to attend the meeting after acknowledging receipt of proper notice. 8
11            The Tuckers have failed to state a claim that Labor Smart breached the Bylaws
12   and the portion of the Counterclaim alleging a breach of the Bylaws should be dismissed.
13
                       IV.      Labor Smart Is Not a Party to the July 2021 Agreement. 9
14
15            The July 2021 Agreement states:

16
              This Agreement memorializes an Agreement made in Scottsdale, Arizona
17            in July 2021 by and between Toby McBride, Michael Holley, Joseph "Joe"
18            Pavlik, in their respective positions as shareholders of Labor Smart, Inc., a
              Georgia Corporation and/or Takeover Industries, Inc. a Nevada
19            Corporation and/or in their individual capacities and Jason Tucker, an
              individual (collectively the "Parties").
20
              The Agreement was signed by Holley, McBride, Pavlik and Tucker. Labor Smart
21
22   7
       A copy of the November 7, 2022 Resolution of the Board of Directors of Labor Smart Inc. is attached as Exhibit
23   "D".
     8
       After Mr. Tucker and Ms. Manolio acknowledged receipt of the November 4, 2022 meeting (Exhibit “B”), Mr.
24   Canini emailed a detailed response to Ms. Manolio, stating in part: “[W]e would like to give your clients an
     opportunity to appear at Mondays meeting and do not want them to be under the misimpression that their
     appearance is not required by virtue of some technical defect." (See Exhibit "C".) In response to both Mr. Canini and
25   Ms. Reiter, Ms. Manolio wrote: "Mr. Tucker will not participate; I will not participate; and I am instructing Mr.
     Pavlik not to participate (though I cannot control if he chooses to do so)." (See Exhibit "C".)
26   9
       A copy of the July 2021 Agreement is attached as Exhibit "E".
                                                            -5-
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 1   is not a party to the Agreement and no one signed on behalf of Labor Smart. 10
 2           In order to assert a claim for breach of contract, a party must allege the existence
 3   of a contract, breach and resulting damages. First American Title Insurance Company v.
 4   Johnson Bank, 239 Ariz. 348, 372 P. 3d 292 (Sup. Ct. 2016). Here, the breach of contract
 5   claim against Labor Smart fails as a matter of law because there is no contract between
 6   Labor Smart and the Tuckers.
 7           The court should dismiss the breach of contract claim based on the alleged breach
 8   of the July 2021 Agreement because it fails to set forth a claim for which relief can be
 9   granted.
10           V.      Labor Smart Is Not Liable for Aiding and Abetting its Directors.
11           The Tuckers allege Third-Party Defendants Holley, McBride and Pavlik are liable
12   for Breach of Fiduciary Duties (Claim I), Breach of Contract (Claim II) and Breach of
13   Covenant of Good Faith and Fair Dealing (Claim III). (Doc. 148, ¶’s 92 – 107.) Only
14   Claim I is a tort claim. The Tuckers allege Takeover and Labor Smart aided and abetted
15   the Third-Party Defendants with respect to all of these claims.
16           Pursuant to Arizona law, a claim that a person aided and abetted tortious
17   misconduct has three elements: (1) the primary tortfeasor must commit a tort that causes
18   injury to the plaintiff; (2) the defendant must know that the primary tortfeasor’s conduct
19   constitutes a breach of duty; and (3) the defendant must substantially assist or encourage
20   the primary tortfeasor in the achievement of the breach. Wells Fargo Bank v. Arizona
21   Laborers, Teamsters and Cement Masons Local No. 395 Pension Trust Fund, 201 Ariz.
22   474, 38 P. 3d 12 (Sup. Ct. 2002). The Tuckers allege Labor Smart aided and abetted its
23   own Directors (Holley, McBride and Pavlik) in the commission of the alleged claims.
24
     10
       The Tuckers separately allege the same claim for breach of contract against Third-Part Defendants Holley,
25   McBride and Pavlik. The Tuckers allege: "Holley, McBride and Pavlik each entered the July 2021 Agreement…"
     (Doc. 148, ¶’s 97-101.)
26
                                                         -6-
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            claim against’ the insurer. [Citation omitted.] In this case, Plaintiff has not
 1
            argued that there is any separate conduct. Review of the complaint reveals
 2          that Plaintiff’s bad faith claim against AmTrust is predicated entirely on
            the conduct of Greer.… Because that same conduct is the basis for
 3          Plaintiff’s aiding and abetting claim against Greer, Plaintiff has failed to
 4          state a claim for aiding and abetting.
     Id., *3. See also, Aguado v. XL Insurance America, --- F. Supp. 3d ---, *5 (D. Ariz.
 5
     2024), which held as follows:
 6
 7
            Because the complaint alleges no action ‘taken by [Intercare] that is
 8          separate and apart from the facts giving rise to the claim against [XL
            Insurance], Plaintiff has failed to state a claim for aiding and abetting
 9
            against [Intercare].’
10
11          In Swift v. Wesco Insurance Company, 2018 WL 11323085, *2 (D. Ariz.), the

12   issue was “whether Plaintiff’s aiding and abetting claim is viable when it arises from the

13   same actions upon which the principal tort is based.” The court granted a motion to

14   dismiss because the plaintiff alleged the same actions gave rise to both the bad faith claim

15   and the aiding and abetting claim.. See also, Young v. Liberty Mut. Group, Inc., 2013 WL

16   840618 (D. Ariz.).

17
            In order for Mr. Dumas and Liberty Mutual to have committed ‘tortious
18          acts in concert,’ there must be some factual allegation showing a separate
19          tortious act was committed by Mr. Dumas. Because the Complaint alleges
            no such facts, Plaintiff has failed to state a claim against Mr. Dumas.
20
            To state a claim for aiding and abetting tortious conduct, “[t]here must be some
21
     distinction between the primary tort and the aiding and abetting conduct.” Counts v.
22
     Technology Insurance Company Inc., 2019 WL 13195132, *2 (D. Ariz.). “Numerous
23
     cases in this District reinforce the determination that in order for Plaintiff’s aiding and
24
     abetting claim against Defendants S&C and Kerner to survive, she must allege some
25
     action taken by these defendants separate and apart from the facts giving rise to the claim
26
                                                 -8-
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 1   against ALIC.” Centeno v. American Liberty Insurance Company, 2019 WL 568926 (D.
 2   Ariz.).
 3             Here, the Tuckers do not allege any conduct by Labor Smart beyond that which is
 4   alleged against Third Party Defendants Holley, McBride and Pavlik. Therefore, Count II
 5   must be dismissed.
 6                            Rule 13(a)(1) Motion
 7             Rule 13(a)(1), Federal Rules of Civil Procedure, states: “A pleading must state as a
 8   counterclaim any claim that-at the time of its service-the pleader has against an opposing
 9   party if the claim: (A) arises out of the transaction or occurrence that is the subject matter
10   of the opposing party’s claim;”
11             VI.    Factual and Procedural Background.
12             The Tuckers’ counsel, Ms. Manolio, has been involved in this case from its
13   original filing date, when she filed the Complaint against Holley on behalf of then
14   Plaintiff Takeover Industries, Inc. (Doc. 1.) On May 20, 2022, the Tuckers were served
15   with the Labor Smart Third-Party Complaint. (Doc. 38.) On August 15, 2022, the
16   Tuckers filed their Answer to the Third-Party Complaint. (Doc. 58.) No Counterclaim
17   was alleged. Now, more than two years after service of the Labor Smart Complaint and
18   almost two years after the Tuckers filed their Answer to the Labor Smart Complaint, the
19   Tuckers are attempting to assert a Counterclaim against Labor Smart. 11
20             Virtually all the allegations in the Counterclaim and Third-Party Complaint are
21   identical to the allegations made in the original Complaint filed by Takeover (through
22   Ms. Manolio) against Holley. For example, compare Counterclaim and Third-Party
23   Complaint (Doc. 148), ¶’s 2, 3, 4, 5, 6, 7, 8, 10, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23,
24   24, 25, 34, 35, 36, 37, 38, 39, 40, 47, 48, 49 and 50, to the Complaint (Doc. 1), ¶’s 4, 5, 8,
25
      The Tuckers are also seeking to add Third-Party claims against Takeover, Next Gen Beverages, LLC, Holley,
     11
26   McBride, Pavlik and Zarro.
                                                         -9-
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 1   9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 25, 26, 27, 28, 29, 30, 31, 33, 34, 36, 37,
 2   38 and 39. 12 The Tuckers waited more than two years to assert the Counterclaim and
 3   Third-Party Complaint, contrary to the requirements of Rule 13.
 4           On May 1, 2023, this court entered an Order (Doc. 129) denying the Motion to
 5   Realign Parties and Amend the Third-Party Complaint because it found Takeover failed
 6   to meet the threshold requirement of timeliness pursuant to Rule 24(a)(2). It is
 7   respectfully urged that the timeliness standard applies equally to Rule 13(a), which
 8   requires that a party must state as a counterclaim any claim that, at the time of its service,
 9   the pleader has against an opposing party.
10           As is evident from the allegations in the original Complaint and the recently filed
11   Counterclaim and Third-Party Complaint, the factual allegations against Labor Smart
12   (and Takeover) were known to the Tuckers as early as March 8, 2022, when the original
13   Complaint was filed. Mr. Tucker is the individual who retained Ms. Manolio to represent
14   Takeover. The facts were also well known to the Tuckers when they filed their Answer
15   on August 15, 2022. The Tuckers have not satisfied the Rule 13(a) requirement because,
16   at the time of service of the Labor Smart Complaint (May 20, 2022), they had knowledge
17   of the allegations in support of the Counterclaim but failed to assert the Counterclaim.
18   Rule 13(a) requires that: “A pleading must state as a counterclaim any claim that-at the
19   time of its service-the pleader has against an opposing party if the claim: (A) arises out of
20   the transaction or occurrence that is the subject matter of the opposing party’s claim;”
21           VI.      Conclusion.
22           For all the foregoing reasons, the court should dismiss the Counterclaim pursuant
23   to Rule 12(b)(6) because it fails to set forth a claim upon which relief can be granted, and
24
25   12
       In the original Complaint, Ms. Manolio alleged Takeover was damaged by the alleged conduct of Holley. Now,
     more than two years later, Ms. Manolio alleges the Tuckers are the party damaged by virtually the same alleged
26   conduct.
                                                         - 10 -
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 1   because it is not timely pursuant to Rule 13(a)(1).
 2          Respectively submitted this 30th day of July, 2024
 3
 4                                                       PAUL M. LEVINE, P.C.
 5                                             By:       /s/ Paul M. Levine_
                                                         Paul M. Levine
 6                                                       8502 E. Via de Ventura, Suite 230
                                                         Scottsdale, Arizona 85258
 7                                                       Attorneys for Labor Smart, Inc.
 8
     ELECTRONICALLY filed
 9   this 30th day of July, 2024
10
11   /s /Libby S. Dwyer
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               EXHIBIT A
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                                           BYLAWS OF

                                          Labor Smart Inc

                                       A Nevada Corporation

                                            ARTICLE I
                                             OFFICES

SECTION 1. PRINCIPAL EXECUTIVE OFFICE. The principal office of the Corporation is
hereby fixed in the State of Nevada or at such other location as may be determined from time to
time by the board of directors of the Corporation.

SECTION 2. OTHER OFFICES. Branch or subordinate offices may be established by the
Board of Directors at such other places as may be desirable.

                                          ARTICLE II
                                        SHAREHOLDERS

SECTION 1. PLACE OF MEETING. Meetings of shareholders shall be held either at the
principal executive office of the corporation or at any other location within or without the State
of Nevada which may be designated by written consent of all persons entitled to vote thereat.

SECTION 2. ANNUAL MEETINGS. The annual meeting of shareholders shall be held on such
day and at such time as may be fixed by the Board; provided, however, that should said day fall
upon a Saturday, Sunday, or legal holiday observed by the Corporation at its principal executive
office, then any such meeting of shareholders shall be held at the same time and place on the
next day thereafter ensuing which is a full business day. At such meetings, directors shall be
elected by plurality vote and any other proper business may be transacted.

SECTION 3. SPECIAL MEETINGS. Special meetings of the shareholders may be called for
any purpose or purposes permitted under Chapter 78 of Nevada Revised Statutes at any time by
the Board, the Chairman of the Board, the President, or by the shareholders entitled to cast not
less than twenty-five percent (25%) of the votes at such meeting. Upon request in writing to the
Chairman of the Board, the President, any Vice-President or the Secretary, by any person or
persons entitled to call a special meeting of shareholders, the Secretary shall cause notice to be
given to the shareholders entitled to vote, that a special meeting will be held not less than thirty-
five (35) nor more than sixty (60) days after the date of the notice.



SECTION 4. NOTICE OF ANNUAL OR SPECIAL MEETING. Written notice of each
annual meeting of shareholders shall be given not less than ten (10) nor more than sixty (60)
days before the date of the meeting to each shareholder entitled to vote thereat. Such notice shall
state the place, date and hour of the meeting and
(i) in the case of a special meeting the general nature of the business to be transacted, or (ii) in
the case of the annual meeting, those matters which the Board, at the time of the mailing of the
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notice, intends to present for action by the shareholders, but, any proper matter may be presented
at the meeting for such action. The notice of any meeting at which directors are to be elected
shall include the names of the nominees intended, at the time of the notice, to be presented by
management for election. Notice of a shareholders' meeting shall be given either personally or by
mail or, addressed to the shareholder at the address of such shareholder appearing on the books
of the corporation or if no such address appears or is given, by publication at least once in a
newspaper of general circulation in Clark County, Nevada. An affidavit of mailing of any notice,
executed by the Secretary, shall be prima facie evidence of the giving of the notice.

SECTION 5. QUORUM. A majority of the shares entitled to vote, represented in person or by
proxy, shall constitute a quorum at any meeting of shareholders. If a quorum is present, the
affirmative vote of the majority of




shareholders represented and voting at the meeting on any matter shall be the act of the
shareholders unless specifically required otherwise in the Charter or Articles of Incorporation.
The shareholders present at a duly called or held meeting at which a quorum is present may
continue to do business until adjournment, notwithstanding withdrawal of enough shareholders
to leave less than a quorum, if any action taken (other than adjournment) is approved by at least a
majority of the number of shares required as noted above to constitute a quorum.
Notwithstanding the foregoing, (1) the sale, transfer and other disposition of substantially all of
the corporation's properties and (2) a merger or consolidation of the corporation shall require the
approval by an affirmative vote of not less than two-thirds (2/3) of the corporation's issued and
outstanding shares.

SECTION 6. ADJOURNED MEETING AND NOTICE THEREOF. Any shareholders
meeting, whether or not a quorum is present, may be adjourned from time to time. In the absence
of a quorum (except as provided in Section 5 of this Article), no other business may be
transacted at such meeting.

SECTION 7. VOTING. The shareholders entitled to notice of any meeting or to vote at such
meeting shall be only persons in whose name shares stand on the stock records of the corporation
on the record date determined in accordance with Section 8 of this Article.

SECTION 8. RECORD DATE. The Board may fix in advance, a record date for the
determination of the shareholders entitled to notice of a meeting or to vote or entitled to receive
payment of any dividend or other distribution, or any allotment of rights, or to exercise rights in
respect to any other lawful action. The record date so fixed shall be not more than sixty (60) nor
less than ten (10) days prior to the date of the meeting nor more than sixty (60) days prior to any
other action. When a record date is so fixed, only shareholders of record on that date are entitled
to notice of and to vote at the meeting or to receive the dividend, distribution, or allotment of
rights, or to exercise of the rights, as the case may be, notwithstanding any transfer of shares on
the books of the corporation after the record date. A determination of shareholders of record
entitled to notice of or to vote at a meeting of shareholders shall apply to any adjournment of the
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meeting unless the Board fixes a new record date for the meeting. The Board shall fix a new
record date if the meeting is adjourned for more than forty-five (45) days.
If no record date is fixed by the Board, the record date for determining shareholders entitled to
notice of or to vote at a meeting of shareholders shall be the close of business on the business
day next preceding the day on which notice is given or, if notice is waived, at the close of
business on the business day next preceding the day on which notice is given. The record date for
determining shareholders for any purpose other than as set in this Section 8 or Section 10 of this
Article shall be at the close of the day on which the Board adopts the resolution relating thereto,
or the sixtieth day prior to the date of such other action, whichever is later.

SECTION 9. CONSENT OF ABSENTEES. The transactions of any meeting of shareholders,
however called and noticed, and wherever held, are as valid as though had at a meeting duly held
after regular call and notice, if a quorum is present either in person or by proxy, and if, either
before or after the meeting, each of the persons entitled to vote not present in person or by proxy,
signs a written waiver of notice, or a consent to the holding of the meeting or an approval of the
minutes thereof. All such waivers, consents or approvals shall be filed with the corporate records
or made a part of the minutes of the meeting.

SECTION 10. ACTION WITHOUT MEETING. Any action which, under any provision of
law, may be taken at any annual or special meeting of shareholders, may be taken without a
meeting and without prior notice if a consent in writing, setting forth the actions to be taken,
shall be signed by the holders of outstanding shares having not less than the minimum number of
votes that would be necessary to authorize or take such action at a meeting at which all shares
entitled to vote thereon were present and voted. Unless a record date for voting purposes be fixed
as provided in Section 8 of this Article, the record date for determining shareholders entitled to
give consent pursuant to this Section 10, when no prior action by the Board has been taken, shall
be the day on which the first written-consent is given.

SECTION 11. PROXIES. Every person entitled to vote shares has the right to do so either in
person or by one or more persons authorized by a written proxy executed by such shareholder
and filed with the Secretary not less than five (5) days prior to the meeting.




SECTION 12. CONDUCT OF MEETING. The Chief Executive Officer shall preside as
Chairman at all meetings of the shareholders, unless another Chairman is selected. The Chairman
shall conduct each such meeting in a businesslike and fair manner, but shall not be obligated to
follow any technical, formal or parliamentary rules or principles of procedure. The Chairman's
ruling on procedural matters shall be conclusive and binding on all shareholders, unless at the
time of ruling a request for a vote is made by the shareholders entitled to vote and represented in
person or by proxy at the meeting, in which case the decision of a majority of such shares shall
be conclusive and binding on all shareholders without limiting the generality of the foregoing,
the Chairman SHALL have all the powers usually vested in the chairman of a meeting of
shareholders.

                                          ARTICLE III
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                                          DIRECTORS

SECTION 1. POWERS. Subject to limitation of the Articles of Incorporation, of these bylaws,
and of actions required to be approved by the shareholders, the business and affairs of the
corporation shall be managed and all corporate powers shall be exercised by or under the
direction of the Board. The Board may, as permitted by law, delegate the management of the
day-to-day operation of the business of the corporation to a management company or other
persons or officers of the corporation provided that the business and affairs of the corporation
shall be managed and all corporate powers shall be exercised under the ultimate direction of the
Board. Without prejudice to such general powers, it is hereby expressly declared that the Board
shall have the following powers:
(a) To select and remove all of the officers, agents and employees of the corporation, prescribe
the powers and duties for them as may not be inconsistent with law, or with the Articles of
Incorporation or by these bylaws, fix their compensation, and require from them, if necessary,
security for faithful service.
(b) To conduct, manage, and control the affairs and business of the corporation and to make such
rules and regulations therefore not inconsistent with law, with the Articles of Incorporation or
these bylaws, as they may deem best.
(c) To adopt, make and use a corporate seal, and to prescribe the forms of certificates of stock
and to alter the form of such seal and such of certificates from time to time in their judgment
they deem best.
(d) To authorize the issuance of shares of stock of the corporation from time to time, upon such
terms and for such consideration as may be lawful.
(e) To borrow money and incur indebtedness for the purposes of the corporation, and to cause to
be executed and delivered therefore, in the corporate name, promissory notes, bonds, debentures,
deeds of trust, mortgages, pledges, hypothecation or other evidence of debt and securities
therefore
.
SECTION 2. NUMBER AND QUALIFICATION OF DIRECTORS. The authorized number
of directors shall be three (3) until changed by amendment of the Articles or by a bylaw duly
adopted by approval of the outstanding shares amending this Section 2.

SECTION 3. ELECTION AND TERM OF OFFICE. The directors shall be elected at each
annual meeting of shareholders but if any such annual meeting is not held or the directors are not
elected the shareholders may elect a director or directors at any time to fill any vacancy or
vacancies. Any such election by written consent requires the consent of a majority of the
outstanding shares entitled to vote. If the Board accepts the resignation of a director tendered to
take effect at a future time, the shareholders shall have power to elect a successor to take office
when the resignation is to become effective.
No reduction of the authorized number of directors shall have the effect of removing any director
prior to the expiration of the director's term of office.

SECTION 4. PLACE OF MEETING. Any meeting of the Board shall be held at any place
within or without the State of Nevada which has been designated from time to time by the Board.
In the absence of such designation meetings shall be held at the principal executive office of the
corporation.
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SECTION 5. REGULAR MEETINGS. Immediately following each annual meeting of
shareholders the Board shall hold a regular meeting for the purpose of organization, selection of
a Chairman of the Board, election of officers, and the transaction of other business. Call and
notice of such regular meeting is hereby dispensed with.




SECTION 6. SPECIAL MEETINGS. Special meetings of the Board for any purposes may be
called at any time by the Chairman of the Board, the President, or the Secretary or a majority of
the directors. Special meetings of the Board shall be held upon at least four (4) days written
notice or forty-eight (48) hours’ notice given personally or by telephone, telegraph, telex or other
similar means of communication. Any such notice shall be addressed or delivered to each
director at such director's address as it is shown upon the records of the Corporation or as may
have been given to the Corporation by the director for the purposes of notice.

SECTION 7. QUORUM. A majority of the authorized number of directors constitutes a quorum
of the Board for the transaction of business, except to adjourn as hereinafter provided. Every act
or decision done or made by a majority of the directors present at a meeting duly held at which a
quorum is present shall be regarded as the act of the Board, unless a greater number be required
by law or by the Articles of Incorporation. A meeting at which a quorum is initially present may
continue to transact business notwithstanding the withdrawal of directors, if any action taken is
approved by at least a majority of the number of directors required as noted above to constitute a
quorum for such meeting.

SECTION 8. PARTICIPATION IN MEETINGS BY CONFERENCE
TELEPHONE. Members of the Board may participate in a meeting through use of conference
telephone or similar communications equipment, so long as all members participating in such
meeting can hear one another.



SECTION 9. WAIVER OF NOTICE. The transactions of any meeting of the Board, however
called and noticed or wherever held, are as valid as though had at a meeting duly held after
regular call and notice if a quorum be present and if, either before or after the meeting, each of
the directors not present signs a written waiver of notice, a consent to holding such meeting or an
approval of the minutes thereof. All such waivers, consents or approvals shall be filed with the
corporate records or made part of the minutes of the meeting.

SECTION 10. ADJOURNMENT. A majority of the directors present, whether or not a quorum
is present, may adjourn any directors' meeting to another time and place. Notice of the time and
place of holding an adjourned meeting need not be given to absent directors if the time and place
be fixed at the meeting being adjourned. If the meeting is adjourned for more than forty-eight
(48) hours, notice of any adjournment to another time or place shall be given prior to the time of
the adjourned meeting to the directors who were not present at the time of adjournment.
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SECTION 11. FEES AND COMPENSATION. Directors and members of committees may
receive such compensation, if any, for their services, and such reimbursement for expenses, as
may be fixed or determined by the Board.

SECTION 12. ACTION WITHOUT MEETING. Any action required or permitted to be taken
by the Board may be taken without a meeting if all members of the Board shall individually or
collectively consent in writing to such action. Such consent or consents shall have the same
effect as a unanimous vote of the Board and shall be filed with the minutes of the proceedings of
the Board.

SECTION 13. COMMITTEES. The board may appoint one or more committees, each
consisting of two or more directors, and delegate to such committees any of the authority of the
Board except with respect to:
(a) The approval of any action which requires shareholders' approval or approval of the
outstanding shares;
(b) The filling of vacancies on the Board or on any committees;
(c) The fixing of compensation of the directors for serving on the Board or on any committee;
(d) The amendment or repeal of bylaws or the adoption of new bylaws;
(e) The amendment or repeal of any resolution of the Board which by its express terms is not so
amendable or repealable by a committee of the board;
(f) A distribution to the shareholders of the corporation;
(g) The appointment of other committees of the Board or the members thereof.
Any such committee must be appointed by resolution adopted by a majority of the authorized
number of directors and may be designated an Executive Committee or by such other name as
the Board shall specify. The Board shall have the power to prescribe the manner in which
proceedings of any such committee shall be conducted. Unless the Board or such committee
shall otherwise provide, the regular or special meetings and other actions of any such




committee shall be governed by the provisions of this Article applicable to meetings and actions
of the Board. Minutes shall be kept of each meeting of each committee.

                                          ARTICLE IV
                                           OFFICERS

SECTION 1. OFFICERS. The officers of the corporation shall be the Chief Executive Officer, a
president, a secretary and a Chief Financial Officer/ treasurer. The corporation may also have, at
the discretion of the Board, one or more vice-presidents, one or more assistant vice presidents,
one or more assistant secretaries, one or more assistant treasurers and such other officers as may
be elected or appointed in accordance with the provisions of Section 3 of this Article.

SECTION 2. ELECTION. The officers of the corporation, except such officers as may be
elected or appointed in accordance with the provisions of Section 3 or Section 5 of this Article,
shall be chosen annually by, and shall serve at the pleasure of, the Board, and shall hold their
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respective offices until their resignation, removal or other disqualification from service, or until
their respective successors shall be elected.

SECTION 3. SUBORDINATE OFFICERS. The Board may elect, and may empower the Chief
Executive Officer to appoint, such other officers as the business of the corporation may require,
each of whom shall hold office for such period, have such authority, and perform such duties as
are provided in these bylaws or as the Board, or the Chief Executive Officer may from time to
time direct.

SECTION 4. REMOVAL AND RESIGNATION. Any officer may be removed, either with or
without cause, by the Board of Directors at any time, or, except in the case of an officer chosen
by the Board, by any officer upon whom such power of removal may be conferred by the Board.
Any officer may resign at any time by giving written notice to the corporation. Any such
resignation shall take effect at the date of the receipt of such notice or at any later time specified
therein. The acceptance of such resignation shall be necessary to make it effective.

SECTION 5. VACANCIES. A vacancy of any office because of death, resignation, removal,
disqualification, or any other cause shall be filled in the manner prescribed by these bylaws for
the regular election or appointment to such office.

SECTION 6. CEO. The CEO shall be the chief executive officer and general manager of the
corporation. The CEO shall preside at all meetings of the shareholders and, in the absence of the
Chairman of the Board at all meetings of "the Board. The CEO has the general powers and duties
of management usually vested in the chief executive officer and the general manager of a
corporation and such other powers and duties as may be prescribed by the Board.


SECTION 7. PRESIDENT. In the absence or disability of the CEO, the President, shall perform
all the duties of the CEO, and when so acting shall have all the powers of, and be subject to all
the restrictions upon the CEO. The President shall have such other powers and perform such
other duties as from time to time may be prescribed for them respectively by the CEO or the
Board
.
SECTION 8. SECRETARY. The Secretary shall keep or cause to be kept, at the principal
executive offices and such other place as the Board may order, a book of minutes of all meetings
of shareholders, the Board, and its committees, with the time and place of holding, whether
regular or special, and, if special, how authorized, the notice thereof given, the names of those
present at Board and committee meetings, the number of shares present or represented at
shareholders' meetings, and proceedings thereof. The Secretary shall keep, or cause to be kept, a
copy of the bylaws of the corporation at the principal executive office of the corporation. The
Secretary shall keep, or cause to be kept, at the principal executive office, a share register, or a
duplicate share register, showing the names of the shareholders and their addresses, the number
and classes of shares held by each, the number and date of certificates issued for the same, and
the number and date of cancellation of every certificate surrendered for cancellation.
The Secretary shall give, or cause to be given, notice of all the meetings of the shareholders and
of the Board and any committees thereof required by these bylaws or by law to be given, shall
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keep the seal of the corporation in safe custody, and shall have such other powers and perform
such other duties as may be prescribed by the Board.

SECTION 9. TREASURER. The Treasurer is the chief financial officer (CFO of the
corporation and shall keep and maintain, or cause to be kept and maintained, adequate and
correct accounts of the properties and financial-transactions of the corporation, and shall send or
cause to be sent to the shareholders of the corporation such financial statements and reports as
are by law or these bylaws required to be sent to them.
The Treasurer shall deposit all monies and other valuables in the name and to the credit of the
corporation with such depositories as may be designated by the Board. The Treasurer shall
disburse the funds of the corporation as may be ordered by the Board, shall render to the CEO
and directors, whenever they request it, an account of all transactions as Treasurer and of the
financial conditions of the corporation, and shall have such other powers and perform such other
duties as may be prescribed by the Board.

SECTION 10. AGENTS. The CEO, President, the Secretary or Treasurer may appoint agents
with power and authority, as defined or limited in their appointment, for and on behalf of the
corporation to execute and deliver, and affix the seal of the corporation thereto, to bonds,
undertakings, recognizance, consents of surety or other written obligations in the nature thereof
and any said officers may remove any such agent and revoke the power and authority given to
him.

                                        ARTICLE V
                                     OTHER PROVISIONS

SECTION 1. DIVIDENDS. The Board may from time to time declare, and the corporation may
pay, dividends on its outstanding shares in the manner and on the terms and conditions provided
by law, subject to any contractual restrictions on which the corporation is then subject.

SECTION 2. INSPECTION OF BY-LAWS. The Corporation shall keep in its Principal
executive Office the original or a copy of these bylaws as amended to date which shall be open
to inspection to shareholders at all reasonable times during office hours. If the Principal
Executive Office of the corporation is outside the State of Nevada and the Corporation has no
principal business office in such State, it shall upon the written notice of any shareholder furnish
to such shareholder a copy of these bylaws as amended to date.

SECTION 3. REPRESENTATION OF SHARES OF OTHER CORPORATIONS. The CEO
or any other officer or officers authorized by the Board or the CEO are each authorized to vote,
represent, and exercise on behalf of the Corporation all rights incident to any and all shares of
any other corporation or corporations standing in the name of the Corporation. The authority
herein granted may be exercised either by any such officer in person or by any other person
authorized to do so by proxy or power of attorney duly executed by said officer.

                                         ARTICLE VI
                                      INDEMNIFICATION
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SECTION 1. INDEMNIFICATION IN ACTIONS BY THIRD PARTIES. Subject to the
limitations of law, if any, the corporation shall have the Power to indemnify any director, officer,
employee and agent of the corporation who was or is a party or is threatened to be made a party
to any proceeding (other than an action by or in the right of to procure a judgment in its favor)
against expenses, judgments, fines, settlements and other amounts actually and reasonably
incurred in connection with such proceeding, provided that the Board shall find that the director,
officer, employee or agent acted in good faith and in a manner which such person reasonably
believed in the best interests of the corporation and, in the case of criminal proceedings, had no
reasonable cause to believe the conduct was unlawful. The termination of any proceeding by
judgment, order, settlement, conviction or upon a plea of nolo contendere shall not, of itself
create a presumption that such person did not act in good faith and in a manner which the person
reasonably believed to be in the best interests of the corporation or that such person had
reasonable cause to believe such person's conduct was unlawful.


SECTION 2. INDEMNIFICATION IN ACTIONS BY OR ON BEHALF OF THE
CORPORATION. Subject to the limitations of law, if any, the Corporation shall have the
power to indemnify any director, officer, employee and agent of the corporation who was or is
threatened to be made a party to any threatened, pending or completed legal action by or in the
right of the Corporation to procure a judgment in its favor, against expenses actually and




reasonable incurred by such person in connection with the defense or settlement, if the Board of
Directors determine that such person acted in good faith, in a manner such person believed to be
in the best interests of the Corporation and with such care, including reasonable inquiry, as an
ordinarily, prudent person would use under similar circumstances.

SECTION 3. ADVANCE OF EXPENSES. Expenses incurred in defending any proceeding
may be advanced by the Corporation prior to the final disposition of such proceeding upon
receipt of an undertaking by or on behalf of the officer, director, employee or agent to repay such
amount unless it shall be determined ultimately that the officer or director is entitled to be
indemnified as authorized by this Article.

SECTION 4. INSURANCE. The corporation shall have power to purchase and maintain
insurance on behalf of any officer, director, employee or agent of the Corporation against any
liability asserted against or incurred by the officer, director, employee or agent in such capacity
or arising out of such person's status as such whether or not the corporation would have the
power to indemnify the officer, or director, employee or agent against such liability under the
provisions of this Article.

                                          ARTICLE VII
                                         AMENDMENTS

These bylaws may be altered, amended or repealed either by approval of a majority of the
outstanding shares entitled to vote or by the approval of the Board; provided however that after
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the issuance of shares, a bylaw specifying or changing a fixed number of directors or the
maximum or minimum number or changing from a fixed to a flexible Board or vice versa may
only be adopted by the approval by an affirmative vote of not less than two-thirds of the
corporation's issued and outstanding shares entitled to vote.
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                              Resolution of the Board of Directors
                                               of
                                       Labor Smart Inc.

       WHEREAS, a special meeting of the Board of Directors of Labor Smart Inc. (the
“Company”) was noticed to Toby McBride, Michael Holley, Jason Tucker and Joseph Pavlik on
November 4, 2022 via email;
       WHEREAS, on November 7, 2022 at 9:00 a.m. MST, Michael Holley, Toby McBride,
and Joseph Pavlik appeared by conference call;
       WHEREAS, Several minutes before the time of the call, Veronica Manolio, Esq., had
communicated by e-mail to Matthew P. Canini, Esq., counsel for Mike Holley, and Jennifer Reiter,
Esq., counsel for Toby McBride, that neither she nor her client Jason Tucker would be appearing
at the meeting;
       WHEREAS, Veronica Manolio also represents Joseph Pavlik and, as such, Mr. Canini and
Ms. Reiter immediately departed the call before the meeting commenced and did not participate
in any portion of the meeting;
       WHEREAS, On September 13, 2021, pursuant to Section 10 of the Company’s bylaws
and by unanimous exercise of all 51 shares of the Company’s Series A Preferred Stock of which
Michael Holley owns 17 shares, Jason Tucker owns 17 shares, and Joseph Pavlik owns 17 shares,
the Shareholders of the Company by a vote of 19,283,582,170 out of a total 29,282,150,656
available votes (66%) filled the Company’s vacant director positions by appointing Toby McBride,
Jason Tucker and Michael Holley as directors of the Company;
       WHEREAS, on December 21, 2021, by motion of Jason Tucker the Board of Directors of
the Company convened and by a vote of Toby McBride, Jason Tucker, and Joseph Pavlik resolved
and did attempt to remove Michael Holley as a Director of the Company, and as a director and
officer of the Company’s wholly owned subsidiary Takeover Industries, Inc. (“TI”) (the
“December 2021 Meeting”);
       WHEREAS, Michael Holley was hospitalized with COVID-19 at the time of the
December 2021 Meeting, and was known by Jason Tucker, Toby McBride and Joseph Pavlik to
have been hospitalized, and he did not receive notice of the December 2021 Meeting, attend the
Meeting, vote on the issues raised thereat, or subsequently ratify any actions taken at that Meeting;




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       WHEREAS, Joseph Pavlik was not a Director of the Company at the time of the December
2021 Meeting, but voted at the December 2021 Meeting;
       WHEREAS, pursuant to N.R.S. 78.335 titled “Directors: Removal; filling vacancies,” a
director can, in most circumstances, only be removed by a two-thirds vote of the shareholders;
       WHEREAS, pursuant to Wyoming Stat. 17-16-808(d) titled “Removal of Directors” a
director may be removed by the shareholders only at a shareholder meeting called for that purpose;
       WHEREAS, the Company never convened a shareholder meeting for the purpose of
removing directors of the Company under either Nevada or Wyoming law;
       WHEREAS, even had Jason Tucker, Joseph Pavlik and Toby McBride voted their
Common and Series A Preferred shares at the December 21, 2021 Meeting, which they did not,
their votes, including their exercise of 34 of the Company’s Series A Preferred shares, would only
have represented 12,445,721,447 of the 29,282,150,656 available votes (42.54%), which is not
enough to remove a director under either Nevada or Wyoming law;
       WHEREAS, based on the foregoing the actions taken at the December 2021 Meeting were
unauthorized and not in conformity with the law or Company Bylaws;
       WHEREAS, by virtue of Holley being unlawfully frozen out from the Board of Directors
actions taken by the Board of Directors subsequent to the December 2021 Meeting are ultra-vires;
       WHEREAS, during the December 2021 Meeting, Jason Tucker claimed Michael Holley
had committed various improprieties, including theft and embezzlement;
       WHEREAS, during the December 2021 meeting Jason Tucker attempted to cause the
Company to transfer Holley’s shares in the Company to other individuals, including himself;
       WHEREAS, at the direction of Jason Tucker, TI commenced a lawsuit against Michael
Holley in the Central District of California and later in the District of Arizona (the “Lawsuit”);
       WHEREAS, during the course and time frame of the Lawsuit information was made
available to Jason Tucker, Toby McBride, and Joseph Pavlik based on which Toby McBride and
Joseph Pavlik now understand that that their actions at the December 2021 Meeting were a nullity
and not in conformity with the law and Company Bylaws;
       WHEREAS, based on information on information obtained during the lawsuit, Toby
McBride and Joseph Pavlik now understand that Jason Tucker’s allegations against Michael
Holley were wrong and for the purpose of attempting to personally enrich Jason Tucker;




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       WHEREAS, since Michael Holley was frozen out of the Company and TI, Tucker has
engaged in wrongful conduct, and failed to meet his fiduciary duties, as President and Director of
TI and a Director of the Company, including withholding information from undisputed officers
and directors, subverting the directions of TI’s CEO, hiring vendors without approval that only
answer to Jason Tucker, and keeping secret TI’s financial situation, which is not in the best interest
of TI’s shareholders;
       WHEREAS, Jason Tucker has been untruthful to other Officers and Directors of the
Company and TI concerning material information regarding investors, products, and sales, which
is not in the best interests of TI and Company shareholders;
       WHEREAS, Jason Tucker has instructed others at TI not to communicate with other TI
Officers and Directors, which is not in the best interests of TI and Company shareholders;
       WHEREAS, Jason Tucker has caused TI to fail to honor its contractual obligations,
leading to potential, threatened, and/or actual claims and/or litigation against TI, which is not in
the best interests of TI and Company shareholders;
       WHEREAS, Eric Bjorgum has previously been retained to the do legal work for the
Company;
       WHEREAS, at the November 7, 2022 Meeting a quorum was present;
       WHEREAS, at the November 7, 2022 Meeting the foregoing matters were discussed and
all directors had a full and fair opportunity to ask questions and be heard;
       WHEREAS, given the dispute in the Lawsuit and Joseph Pavlik’s vote at the December
2021 Meeting, he was invited to attend and participate in the November 7, 2022 meeting and,
although not a director of the Company, indicate what his vote would be were he a Director;
       THEREFORE, IT IS:

       RESOLVED, all actions Taken at the December 21, 2021 meeting to the extent they were
ever effective are voided;
       RESOLVED, Michael Costello is suspended from his position as CEO of the Company
for a period of thirty days, with pay, and his authority to act on behalf of the Company is in all
aspects revoked during this period;
       RESOLVED, Michael Costello shall turn over to the Board of Directors of the Company
all accounts, documents, passwords or other material belonging to the Company;




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       RESOLVED, the Board of Directors shall conduct a review of Michael Costello’s actions
from the period September 1, 2021 to the date hereof;
       RESOLVED, the Board of Directors shall reconvene in thirty-days to discuss Michael
Costello’s position at LTNC;
       RESOLVED, Michael Holley is appointed interim CEO of the Company until the Board
Directors makes a determination with respect Michael Costello;
       RESOLVED, Jason Tucker shall immediately turn over to the Board of Directors all
contracts, documents, information, communications, passwords and financial accounts of the
Company;
       RESOLVED, Eric Bjorgum shall immediately turn over to the Board of Directors all
contracts, documents, information, communications, passwords and financial accounts of the
Company;
       REVOLVED, the Board of Director will conduct a review of all actions taken by the
Company since September 21, 2021 to the present;
       RESOLVED, the Board of Directors shall conduct a review of all actions taken by Jason
Tucker from September 21, 2021 to the present;
       RESOLVED, Eric Bjorgum is terminated as the Company’s counsel;
       RESOLVED, the Board of Directors will conduct a review of the Lawsuit;
       RESOLVED, the planned spinoff of Takeover is suspended for ninety days, while the
Company undertakes a review of documents and information concerning the transaction, which
have been withheld by Jason Tucker;
       RESOLVED, effective immediately, by exercise of a vote of the shares of TI owned by
the Company, which is between 97.345% and 100% of all issued and outstanding shares of TI, the
Company hereby removes Jason Tucker from TI’s board of directors and appoints Michael Holley
to replace him.
       RESOLVED, Joseph Pavlik and Toby McBride shall remain on TI’s board of directors;
and
       RESOLVED, TI’s board of directors is to meet immediately for the purpose of taking
corrective action regarding the matters discussed at the November 7, 2022 meeting.




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       IN WITNESS WHEREOF, the undersigned, being two of the three Directors of the
Company Agree, Approve and Adopt the foregoing resolutions as of November 7, 2022
following the duly noticed meeting of the Board of Directors held on this date.



        Joseph Pavlik, Observer


                                                    ________________________________
        Toby McBride, Director                      Michael Holley, Director




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                    EXHIBIT E
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                                                             AGREEMENT
            This Agreement memorializes an Agreement made in Scottsdale, Arizona in July 2021 by and
            between Toby McBride, Michael Holley, Joseph “Joe” Pavlik, in their respective positions as
            shareholders of Labor Smart, Inc., a Georgia Corporation and/or Takeover Industries, Inc. a Nevada
            Corporation and/or in their individual capacities and Jason Tucker, an individual (collective the
            “Parties”).
                   WHEREAS, the Parties acknowledge that each of them individually and collectively has
            formed various companies and held management positions with this current venture servicing the
            beverage industry including, but not limited to, the trademarked brand NXT LVL.
                   WHEREAS, the Parties desires to avail itself of the expertise and services of each other, in
            which they acknowledge the respective expertise of each Party.
                     NOW, THEREFORE, in consideration of the foregoing recitals, (which shall be deemed a
            part of this Agreement) and the covenants and conditions herein set forth, the parties hereto agreed as
            follows:
            1. Takeover Industries Inc, is a Nevada Company, (Entity number E11605462021-2), located at 401
               Ryland St, Ste 200-A, Reno, NV, 89502, USA (hereinafter “Takeover”).
                  a. The Parties shall receive and be assigned 25% of the shares in Takeover.
                  b. Joseph Pavlik and Jason Tucker shall be named a Director of Takeover.
                  c. The Parties shall be entitled to and receive monthly payments, draws and/or salary equal
                      to each other or their assigns.

            2. Labor Smart, Inc. (EIN XX-XXXXXXX) is a Georgia based Company trading on the OTC as LTNC
               (hereinafter “LTNC”).
                   a. Toby McBride, Michael Holley, and Joseph Pavlik hold 51 Preferred Shares in LTNC
                       that equals 51% of the voting rights in LTNC.
                   b. Toby McBride, Michael Holley, and Joseph Pavlik agree that 12 of those Preferred
                       Shares in LTNC shall be released and issued to Jason Tucker or his assigns if/when
                       LTNC receives a “current” status from OTC Markets or another market such as
                       NASDAQ, NYSE or equivalent.
                   c. Toby McBride, Michael Holley, and Joseph Pavlik will each retain 13 of the Preferred
                       Shares in LTNC.
                        i. As a matter of example, the preferred share division will be as follows:
                                   1. Toby McBride         13 Preferred Shares
                                   2. Michael Holley       13 Preferred Shares
                                   3. Joseph Pavlik        13 Preferred Shares
                                   4. Jason Tucker         12 Preferred Shares
                   d. In addition, the Parties agree that Jason Tucker or his assigns shall receive 750M
                       common shares valued at the same rate as Toby McBride or his assigns.
                   e. None of Parties shares shall be diluted unless they collectively agree.

            3. No amendment or waiver of any provision of this Agreement, or consent to any departure by
               either party from any such provision, shall be effective unless the same shall be in writing and



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                 signed by the parties to this Agreement, and, in any case, such amendment, waiver or consent
                 shall be effective only in the specific instance and for the specific purpose for which given.

            4. This Agreement shall constitute the entire agreement between the parties with respect to the
               subject matter hereof, and shall supersede all previous oral and written (and all contemporaneous
               oral) negotiations, commitments, agreements and understandings relating hereto.

            5. This Agreement shall be governed by, and enforced in accordance with, the laws of the State of
               Arizona (excluding the choice of law principles thereof). The parties to this Agreement hereby
               agree to submit to the non-exclusive jurisdiction of the federal and state courts located in
               Maricopa County in the state of Arizona in any action or proceeding arising out of or relating to
               this Agreement.

            6. This Agreement may be executed in two or more counterparts, and by different parties on
               separate counterparts. Each set of counterparts showing execution by all parties shall be deemed
               an original, and shall constitute one and the same document.

            7. The waiver by any party of any breach of this Agreement shall not operate as or be construed to
               be a waiver by such party of any subsequent breach.

            8. To the extent that the terms set forth in this Agreement or any word, phrase, clause or sentence
               are found to be illegal or unenforceable for any reason, such word, phrase, clause or sentence
               shall be modified or deleted in such manner so as to afford the fullest protection commensurate
               with making this Agreement, as so modified, legal and enforceable under applicable laws, and
               the balance of this Agreement shall not be affected thereby, the balance being construed as
               severable and independent.
            IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and delivered by
            their duly authorized officers or agents as set forth below.
            AGREED and ACCEPTED:

                                                                 Address
            _________________________
            Toby McBride     8/5/2021                 Address:


            _________________________                          Address
            Michael Holley   8/5/2021                 Address: 5137 E Armor St.
                                                               Cave Creek, AZ 85331


            _________________________                            408 NE 6th Street #637
                                                                 Fort Lauderdale, FL 33304
            Joseph “Joe” Pavlik 8/5/2021              Address:


            _________________________                            3104 E Camelback Road #2917, Phoenix, AZ 85016
            Jason Tucker    8/4/2021                  Address:



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